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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION


  IN RE: AQUEOUS FILM-FORMING                       MDL No.: 2873
  FOAMS PRODUCTS LIABILITY
  LITIGATION                                        Master Docket No.: 2:18-mm-2873-RMG

                                                    This Document Relates to
                                                    Bove v. 3M Company et al, No. 2:22-cv-
                                                    03789-RMG


          NOTICE OF DISMISSAL WITHOUT PREJUDICE PURSUANT TO
              FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(i)

       Plaintiff Joanne Bove initiated the above-captioned action by filing a Complaint against

Defendants including BASF Corporation and National Foam Inc. The Complaint was filed on

November 1, 2022. Defendants BASF Corporation and National Foam Inc. have not answered,

moved, or otherwise responded to the Complaint.

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil, Plaintiff hereby dismisses the

above-captioned action without prejudice against BASF Corporation and National Foam Inc. only.

Plaintiff reserves its rights against all other Defendants in the above-captioned action.
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Dated: New York, New York                 Respectfully submitted,
       December 5, 2022
                                          NAPOLI SHKOLNIK

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 5, 2022, a copy of the foregoing was

filed electronically using the Court’s Case Management/Electronic Case Filings System

(CM/ECF). Notice of and access to this filing will be provided to all parties through CM/ECF.


                                                   /s/ Andrew W. Croner
                                                   Andrew W. Croner
